Case 1:21-cv-02367-RLY-DLP Document 28 Filed 01/20/22 Page 1 of 13 PageID #: 164




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


 JERAD GRIMES,                            )
 and GEORGIA EMILY EDMONDSON              )
 on behalf of themselves and all others   )
 similarly situated,                      )
                                          )
               Plaintiffs,                )
                                          )
 v.                                       )   Case No. 1:21-cv-2367-RLY-DLP
                                          )
 ELI LILLY AND COMPANY, a                 )
 Domestic For-Profit Corporation          )
 And LILLY USA, LLC, a Domestic           )
 Limited Liability Company,               )
                                          )
               Defendants.                )

          AMENDED ESI SUPPLEMENT TO CASE MANAGEMENT PLAN

       Pursuant to the Court’s direction at the Initial Pretrial Conference held on
 January 13, 2022, the parties hereby respectfully submit the following Amended ESI
 Supplement to the Case Management Plan.


        1. Discovery Scope. Following a detailed discussion between counsel of a
           discovery plan for this matter, each party should outline below the categories
           and types of information that party intends to seek in discovery in this
           matter. This outline should include, in addition to identification of the
           various topics on which discovery will be sought and identification of the
           nature and type of documents to be produced, a list by each party of the
           potentially relevant custodians of such information and the date ranges
           relevant to discovery in this matter.

           Plaintiff(s):

           Email exchanges, documents, power point presentations regarding early
           career professionals, hiring goals/quotas, recruitment
           parameters/preferences, discussions about early career professional hiring
           amongst management, executive-level employees, C-level executives.
Case 1:21-cv-02367-RLY-DLP Document 28 Filed 01/20/22 Page 2 of 13 PageID #: 165




          Any and all hiring data for the relevant time period.

          Any and all documents reflecting the practice whereby management had to
          obtain approval from executives before hiring anyone who was not a
          millennial and/or early career professional.

          IGNITE meeting notes, minutes and email exchanges regarding early career
          professional hiring and millennials amongst all IGNITE meeting participants.

          All communications regarding early career professional hiring amongst
          district sales managers, area sales managers, Human Resources, recruitment,
          executive leadership committee, the Vice President of Sales for the Diabetes
          Business Unit and/or Compliance, regarding early career professional
          and/or millennial hiring.

          All data, charts, graphs and/or metrics which tracked early career
          professional/millennial hiring across the country.

          Any and all communications between district sales managers, area sales
          managers and/or the Vice President of Sales for the Diabetes Business unit
          throughout the United States where early career professional hiring is
          discussed while making hiring decisions.

          Custodians
             i. Richard Ruth

             ii. Rebecca Hammel

            iii. Adrian Brown

            iv. Ilya Yuffa

             v. Enrique Conterno

            vi. David Noesges

            vii. Steve Fry

           viii. Maurice Taylor

            ix. Jennifer Porath

             x. Amy Green

            xi. Amber Sellers


                                            2
Case 1:21-cv-02367-RLY-DLP Document 28 Filed 01/20/22 Page 3 of 13 PageID #: 166




            xii. Laura Swint

           xiii. Hollie Eble

           xiv. Andrew Oxtaby

            xv. Frank Jefferson

           xvi. Mike Mason

           xvii. Laura Bickell

          xviii. Keenan Ingram

           xix. Matthew Kipp

            xx. Chris Rimmel

           xxi. Javier Hernandez

           xxii. Doug Lindsey

          xxiii. Kathleen Tarbet

          xxiv. All members of the “Executive Committee” not listed above


          Relevant time period

          April 1, 2017 to the present day

          Defendant(s): Defendants generally agree with Plaintiffs on the scope of ESI
          discovery from Defendants if the Court finds that Plaintiffs’ Complaint states
          a plausible claim, subject to agreement on particular ESI search terms, and
          any objections appropriate under the Federal Rules, with the following
          exceptions:
               The “relevant time period” should end no later than 2020, when the
                 Early Career Professional initiative ended.
               “Hiring Data,” and ESI generally, should be limited to Pharmaceutical
                 Sales Representative positions in the Diabetes Business Unit
               “All members of the Executive Committee” is overbroad. Many
                 members of the 16-member Executive Committee have no involvement
                 in hiring practices or decisions whatsoever. Defendants will agree to
                 the 23 named custodians identified by Plaintiffs.




                                             3
Case 1:21-cv-02367-RLY-DLP Document 28 Filed 01/20/22 Page 4 of 13 PageID #: 167




                 ESI discovery from Plaintiffs will include electronically-stored
                  documents such as emails, resumes, job applications, cover letters, and
                  other correspondence reflecting Plaintiffs’ efforts to find
                  Pharmaceutical Sales jobs.


       2. ESI Sources and Volumes. With regard to the discovery outlined in
          paragraph 1, each party should discuss the types of ESI (e.g., Outlook e-mail,
          Word documents, Excel spreadsheets, CAD drawings, etc.) implicated by the
          opposing party’s requests (meaning that Defendant should address the
          categories and types of information identified by the Plaintiff, etc.), any
          proprietary software involved in the production of such ESI, the location of
          such ESI (e.g., 14 servers located in 3 states, 57 individual PC hard drives that
          are not connected to a central server, etc.), and the estimated volume of ESI
          implicated by such requests (e.g., 20 GB of Outlook .pst files, 500 MB of Excel
          spreadsheets, etc.).

          Plaintiff(s): Outlook email, Excel spreadsheets, PowerPoint presentations, text
          messages, group chats utilized by Defendant’s employees, Word documents.

          The size of this production is unknown to Plaintiffs.

          Defendant(s): From Defendants, email, excel spreadsheets, PowerPoint
          presentations, word documents, pdf documents. Responsive ESI is most
          likely hosted on a Microsoft Azure infrastructure. The volume of ESI at issue
          is currently unknown to Defendants.

          From Plaintiffs, emails, word documents, and pdf documents. Defendants
          lack knowledge of the location of these documents or the size of the
          production.


       3. Accessibility. Identify any potential sources of ESI in this matter that are “not
          reasonably accessible” as defined by Fed. R. Civ. P. 26(b)(2)(B).

          Plaintiff(s): N/A

          Defendant(s): N/A


       4. ESI Management Software. Describe the software each party intends to use to
          manage any ESI produced in this matter and identify the Information




                                             4
Case 1:21-cv-02367-RLY-DLP Document 28 Filed 01/20/22 Page 5 of 13 PageID #: 168




              Technology personnel primarily responsible for assisting counsel with the
              production and management of ESI in this matter.

              Plaintiff(s): N/A

              Defendant(s): Defendants anticipate using a Relativity database to manage
              ESI. Defendants have not yet identified the Information Technology
              personnel who will primarily assist counsel.


           5. Metadata. Identify the potential sources of metadata in this matter and each
              party’s anticipated use of metadata in this matter.

              Plaintiff(s): Plaintiffs request all metadata for any documents be produced
              and all such documents be produced in native format. To the extent such is
              not feasible, Plaintiffs request that the following metadata fields be produced:



   Field                     Definition                                        Doc

                                                                               Type

   CUSTODIAN                 Name of person or other data source (non‐human) All
                             from where documents/files are produced. Where
                             redundant names occur, individuals should be
                             distinguished by an initial which is kept constant
                             throughout productions (e.g., Smith, John A. and
                             Smith, John B.)




   BEGBATES                   Beginning Bates Number (production number)       All


   ENDBATES                  Ending Bates Number (production number)           All

   PGCOUNT                   Number of pages in the document                   All

   FILESIZE                  File Size                                         All
   APPLICAT                  Commonly associated application for the specified All
                             file type.




                                                 5
Case 1:21-cv-02367-RLY-DLP Document 28 Filed 01/20/22 Page 6 of 13 PageID #: 169




   FILEPATH            Original file/path of the location where the item E‐document
                       was located at the time of collection. This
                       should include location, file name, and file
                       extension. Any container name should be
                       included in the path.
   FILENAME            Original file name at the point of collection        E‐Document.

   NATIVEFILELINK      For documents provided in native format only         All

   TEXTPATH            File path for OCR or Extracted Text files            All


   MSGID               Email system identifier assigned by the host email   E‐mail
                       system. This value is extracted from parent
                       message during processing
   Folder              Folder location of the e‐mail within the PST/OST     E‐mail
   FROM                Sender                                               E‐mail
   TO                  Recipient                                            E‐mail
   CC                  Additional Recipients                                E‐mail
   BCC                 Blind Additional Recipients                          E‐mail
   SUBJECT             Subject line of e‐mail                               E‐mail
   CONVERSATIONID      Email thread identifier                              E‐mail


   BEGATTACH           First Bates number of family range (i.e., Bates      E‐mail, E‐
                       number of the first page of the parent e‐mail or     Documents
                       document)


   ENDATTACH           Last Bates number of family range (i.e., Bates     E‐mail
                       number of the last page of the last attachment or,
                       if no attachments, the document itself)
   ATTACHCOUNT         Number of attachments to an e‐mail                 E‐mail



   DATESENT            Date Sent                                            E‐mail
   (mm/dd/yyyy
   hh:mm:ss AM)
   DATERCVD            Date Received                                        E‐mail
   (mm/dd/yyyy
   hh:mm:ss AM)
   TITLE               Internal document property                           E‐document
   AUTHOR              Creator of a document                                E‐document




                                             6
Case 1:21-cv-02367-RLY-DLP Document 28 Filed 01/20/22 Page 7 of 13 PageID #: 170




     DATECRTD                    Creation Date                                            E‐document
     (mrn/dd/yyyy
     hh:mm:ss AM)
     LASTMODD                    Last Modified Date                                       E‐document
     (mrn/dd/yyyy
     hh:mm:ss AM)
     Office Flags                Identifies any hidden text, hidden rows, hidden         E‐document
                                 comments, etc.


     DocumentType                Descriptor for the type of document: “E‐                 All
                                 document” for electronic documents not
                                 attached to e‐mails; “E‐mail” for all e‐mails; “E‐
                                 attachment” for files that were attachments to
                                 e‐mails; and “Physical” for hard copy physical
                                 documents that have been scanned and
                                 converted toan electronic image
     Importance                  High Importance ‐ indicates Priority E‐mail              E‐mail
     Redacted                    Descriptor for documents that have been                  All
                                 redacted.

                                 “Yes” for redacted documents; “No” for un‐
     RedactionReason             Basis of redaction. If more than one, separate
                                 reasons by semi‐colons
     ProdVol                     Name of media that data was produced on.                 All
     Confidentiality             Confidentiality level if assigned pursuant to any All
                                 applicable Protective Order or stipulation.



                  a.  Defendant(s): Metadata to be Produced. The following metadata
 fields will be produced for each document to the extent that such information is
 available at the time of collection and processing:1

                          i.       BEGINDOC

                          ii.      ENDDOC

                          iii.     BEGATTACH

                          iv.      ENDATTACH

                          v.       SOURCE


 1
  Additional fields such as File Path may be considered during negotiations, subject to discussion with the Lilly
 Attorney and Case Manager.



                                                        7
Case 1:21-cv-02367-RLY-DLP Document 28 Filed 01/20/22 Page 8 of 13 PageID #: 171



                     vi.      FILEEXTENSION

                     vii.     FILENAME

                     viii.    DOCDATE

                     ix.      AUTHOR

                     x.       TO

                     xi.      FROM

                     xii.     CC

                     xiii.    BCC

                     xiv.     SUBJECT

                     xv.      CONFIDENTIALITY

                     xvi.     TEXT

                     xvii.    IND/NDA No.

                     xviii.   IND/NDA Sequence No.

                     xix.     IND/NDA Supplement No.

                     xx.      IND/NDA Abstract

                     xxi.     IND/NDA Submission Date

 This list of fields does not create any obligation to create or manually code fields that
 are not automatically generated by the processing of ESI, that do not exist as part of the
 original metadata of the document, or would be burdensome or costly to obtain.


        6. ESI Format. Set forth the format in which each party will produce ESI in this
           matter.

           Plaintiff(s): Plaintiffs request Defendant produce documents in native format.
           Plaintiff reserves the right to request alternative formats as needed in order to
           integrate same with Plaintiff’s document management software.

           Defendant(s): General Provisions. All documents, unless otherwise specified,
           whether stored as paper or ESI, will be produced by both Parties as black-
           and-white, single-page, 300 dpi (minimum) Group IV TIFF images, with text
           in document level text files, with a load file that references the images and
           text, and a .DAT file with delimiters that list the metadata fields below.


                                                 8
Case 1:21-cv-02367-RLY-DLP Document 28 Filed 01/20/22 Page 9 of 13 PageID #: 172




          Image reference load files will be provided in .LFP, .OPT and .DII formats.
          After production in this format is received, the Parties will meet and confer
          regarding any good faith request for the production of ESI in native file
          format. A Party may make a good faith request that a document produced in
          black-and-white be re-produced in color, and the Parties will meet and confer
          regarding such a request.

        Native Format. The Parties shall produce Excel spreadsheets, audio files, and
 video files in native format, unless redacted, with extracted searchable text and the
 applicable metadata specified in this ESI Order.


       7. Discovery Sequencing. Have the parties agreed on a plan for the sequencing
          of discovery in this matter? Not yet at this time, but the Parties are amenable
          to discussing such issues before the Court to arrive at the best solution. The
          Parties agree that very limited discovery should take place prior to Plaintiffs
          moving for conditional certification of Plaintiffs’ collective action under the
          ADEA.

          If yes, please describe such agreements:

          The Parties have agreed that discovery for conditional and class certification
          purposes shall take place on or before September 16, 2022.

          Plaintiffs shall have 60 days thereafter to file motions for conditional and class
          certification on November 15, 2022.

          Defendants response to Plaintiff’s class and conditional certification motions
          shall be due 60 days thereafter on January 16, 2023.

          Plaintiffs will provide an expert report on damages, to the extent conditional
          and/or class certification is granted 120 days after such conditional and/or
          class certification is granted.

          If no, please describe the efforts undertaken to reach agreement and identify
          the issues that remain outstanding:


       8. Search Protocol. Have the parties agreed on any protocol for the
          identification and review of relevant ESI (e.g., search terms, predictive coding,
          etc.)? Plaintiff requests search term searches which may be narrowed down
          using predictive coding to ensure efficiency on both sides. Defendants do not
          expect that predictive coding will be necessary.



                                             9
Case 1:21-cv-02367-RLY-DLP Document 28 Filed 01/20/22 Page 10 of 13 PageID #: 173




           If yes, please describe such agreements, including, if applicable, a list of
           agreed search terms to be used:

           If no, please describe the efforts undertaken to reach agreement and identify
           the issues that remain outstanding: The Parties will begin to exchange search
           terms in the near future.


        9. Preservation. Describe what efforts each party has undertaken to ensure the
           preservation of ESI potentially relevant to this matter and identify any
           unresolved issues pertaining to the preservation of ESI in this matter?

           Plaintiff(s): Plaintiffs have preserved documents regarding their applications
           for employment with Defendant.

           Defendant(s): Have issued and/or will issue litigation hold notices to the
           custodians listed above.

           Unresolved issues: None


        10. Cost of Production. Each party should analyze the data provided in
            paragraph 2 and provide an estimate of the costs associated with production
            of ESI in this matter:

           Plaintiff(s): Unclear at this time.

           Defendant(s): Unknown at this time.


        11. Cost Allocation/Savings. Describe below the parties’ discussions regarding
            cost-shifting or cost-savings measures in this matter and set forth in detail
            any agreements reached between the parties in that regard:


        12. Discovery Proportionality. Do the parties agree that the discovery of ESI in
            this matter satisfies the proportionality standard set forth in Fed. R. Civ. P.
            26(b)(2)(C)? Plaintiffs believes given the national scope of the class/collective
            allegations in Plaintiffs’ Complaint that such discovery is necessary and
            proper as potentially thousands of applicants were impacted by Defendant’s
            alleged discriminatory practices over the course of several years and
            potentially up to the present day/ongoing.



                                                 10
Case 1:21-cv-02367-RLY-DLP Document 28 Filed 01/20/22 Page 11 of 13 PageID #: 174




           Defendants are not in a position to address the proportionality of Plaintiffs’
           requested discovery until search terms and custodians have been identified
           with particularity.

           If no, identify the nature of the dispute:


        13. Claw Back Agreement. Have the parties agreed on the following
            unintentional production “claw back” provision? Plaintiffs agree to the
            below provision.

              In the event that a document protected by the attorney-client
              privilege, the attorney work product doctrine or other applicable
              privilege or protection is unintentionally produced by any party to
              this proceeding, the producing party may request that the
              document be returned. In the event that such a request is made, all
              parties to the litigation and their counsel shall promptly return all
              copies of the document in their possession, custody, or control to
              the producing party and shall not retain or make any copies of the
              document or any documents derived from such document. The
              producing party shall promptly identify the returned document on
              a privilege log. The unintentional disclosure of a privileged or
              otherwise protected document shall not constitute a waiver of the
              privilege or protection with respect to that document or any other
              documents involving the same or similar subject matter.

        If no, set forth the alternative provision being proposed?



        14. Other. Identify all outstanding issues or disputes concerning ESI not
            otherwise addressed herein.

           Plaintiff(s): Unknown at this time, but Plaintiffs reserve the right to address
           additional issues as they become known.

           Defendant(s): Unknown at this time, but Defendants reserve the right to
           address additional issues as they become known.




                                              11
Case 1:21-cv-02367-RLY-DLP Document 28 Filed 01/20/22 Page 12 of 13 PageID #: 175




  Dated: January 20, 2022            Respectfully submitted,

                                     /s/ Michael R. Phillips

                                     Joel H. Spitz
                                     Michael R. Phillips
                                     David D. Leishman
                                     Melissa M. Weiss
                                     McGuireWoods LLP
                                     77 W. Wacker Drive, Suite 4100
                                     Chicago, IL 60601
                                     (312) 849-8100 (telephone)
                                     (312) 849-3690 (facsimile)
                                     jspitz@mcguirewoods.com
                                     mphillips@mcguirewoods.com
                                     dleishman@mcguirewoods.com
                                     mweiss@mcguirewoods.com

                                     Attorneys for Defendants

                                     /s/ Gregory R. Schmitz

                                     J. COREY ASAY, ESQ.
                                     Indiana Bar No.: 28453-49
                                     Morgan & Morgan, P.A.
                                     333 W. Vine Street, Suite 1200
                                     Lexington, KY 40507
                                     Phone: (859) 286-8368
                                     Fax: (859) 286-8384
                                     Email: casay@forthepeople.com

                                     GREGORY R. SCHMITZ, ESQ.
                                     Florida Bar No.: 0094694
                                     C. Ryan Morgan, Esq.
                                     Florida Bar No.: 15527
                                     Morgan & Morgan, P.A.
                                     20 North Orange Avenue, 15th Floor
                                     Orlando, Florida 32801
                                     Telephone: (407) 204-2170
                                     Facsimile: (407) 245-3401
                                     E-mail: gschmitz@forthepeople.com

                                     MARC R. EDELMAN, ESQ.
                                     Florida Bar No.: 0096342
                                     MORGAN & MORGAN, P.A.
                                     201 N. Franklin Street, Suite 700



                                       12
Case 1:21-cv-02367-RLY-DLP Document 28 Filed 01/20/22 Page 13 of 13 PageID #: 176




                                     Tampa, Florida 33602
                                     Telephone: 813-223-5505
                                     Facsimile: 813-257-0572
                                     E-mail: medelman@forthepeople.com

                                     ANGELI MURTHY, ESQ. (PHV Pending)
                                     FL Bar No.: 88758
                                     MORGAN & MORGAN, P.A.
                                     8151 Peters Road, Ste. 4000
                                     Plantation, Florida 33324
                                     Telephone: 954-318-0268
                                     Facsimile: 954-327-3016
                                     E-mail: amurthy@forthepeople.com
                                     Attorneys for Plaintiffs




                                       13
